

Matter of Czeizinger (Czeizinger) (2017 NY Slip Op 07840)





Matter of Czeizinger (Czeizinger)


2017 NY Slip Op 07840


Decided on November 9, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CARNI, CURRAN, AND WINSLOW, JJ.


1220 CA 16-00885

[*1]IN THE MATTER OF THE ACCOUNTING BY DONALD K. CZEIZINGER, AS ADMINISTRATOR OF THE ESTATE OF FREDERICK D. CZEIZINGER, DECEASED, PETITIONER-RESPONDENT.
TINA CHAMBLISS-PARTEE, OBJECTANT-APPELLANT; ROBERT F. BALDWIN, JR., GUARDIAN AD LITEM OF FREDERICK DONALD CZEIZINGER, DECEASED, RESPONDENT. 






TINA CHAMBLISS-PARTEE, OBJECTANT-APPELLANT PRO SE.


	Appeal from an order of the Surrogate's Court, Onondaga County (Ava S. Raphael, S.), entered April 11, 2016. The order, among other things, denied the objections to an amended accounting by Donald K. Czeizinger, as Administrator of the Estate of Frederick D. Czeizinger. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: November 9, 2017
Mark W. Bennett
Clerk of the Court








